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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA

v.                                              Case Number: 4:16−cr−00257

Starsky D Bomer



                               NOTICE OF RESETTING

A proceeding has been reset in this case as to Starsky D Bomer as set forth below.

Before the Honorable Vanessa D Gilmore
PLACE:
Courtroom 9A
United States District Court
515 Rusk Street
Houston, TX 77002


DATE: 8/29/2019
TIME: 09:30 AM
TYPE OF PROCEEDING: Sentencing


Date: June 14, 2019                                         David J. Bradley, Clerk
